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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 FREE HOLDINGS INC.,
                             Plaintiff,
                                                          Case No.: 1:22-cv-00881-JLC
      -v-

 KEVIN MCCOY and SOTHEBY’S INC.,

                             Defendants.



                                    NOTICE OF APPEAL

       Notice is hereby given that Free Holdings Inc., plaintiff in the above-named case, appeals

to the United States Court of Appeals for the Second Circuit from the Court’s Opinion and Order,

entered in this action on March 17, 2023 [D.E. 70], that granted defendants’ Kevin McCoy and

Sotheby’s Inc’s motions to dismiss plaintiff’s amended complaint.

Dated: Rockville Centre, New York
       April 17, 2023

                                            FALCON RAPPAPORT & BERKMAN LLP

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cc: Counsel of Record (via ECF)
